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In re CASSAVA SCIENCES, INC. SECURITIES
LITIGATION

                                                                 1:21-cv-00751-DAE

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  March                 2024


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                                        UNITED STATES DISTRICT JUDGE
